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Form To Be Used By A Prisoner in Filing a Complaint
Under the Civil Rights Act, 42 U.S.C. § 1983

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Plaintifi" s name and ID Number

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Place of Confinement

 

 

CASE NO:

v. Cmmi:_ \Jmauz.@na\>ci;, timm m
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Defendant’s name and address
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Defendant’s name and address `2 '\:I_*~XA\AC;IAL i>\‘Z.¢ <g‘i£ (p')-»B/~ i~<iul§f&li`f.l\// THYA€ qr|?’ L"G‘\

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Defendant’s name and address

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(Clerk will assign the number)

 

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INSTRUCTIONS - READ CAREFULLY

NOTICE:

Your complaint is subject to dismissal unless it conforms to these instructions and this form.

l. To start an action you must file an original and one copy of your complaint with the court You should keep a
copy of the complaint for your own records

2. Your complaint must be legibly handwritten in ink, or typewritten You, the plaintiff, must sign and declare
under penalty of perjury that the facts are correct. lf you need additional space, DO NOT USE THE
REVERSE SIDE OR BACK SIDE OF ANY PAGE. ATTACH AN ADDITIONAL BLANK PAGE AND
WRITE ON lT.

3. You must file a separate complaint for each claim you have unless the various claims are all related to the
same incident or issue or are all against the same defendant, Rule 18, Federal Rules of Civil Procedure. Make
a short and plain statement of your claim, Ruie 8, Federal Rules of Civil Procedure.

4. When these forms are completed, mail the original and one copy to the Clerk of the United States Court for
the appropriate District of TeXas in the Division where one or more named defendants are located, or where
the incident giving rise to your claim for relief occurred The list labeled as “VENUE LlST” is posted in your
unit law library. lt is a list of Texas prison units indicating the appropriate District Court, the Division and an
address of the Divisional Clerks.

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FILING FEE AND IN FORMA PAUPERIS

l.

2.

In order for your complaint to be filed, it must be accompanied by the filing fee of $350.00.

If you do not have the necessary funds to pay the filing fee in hall at this time, you may request permission to
proceed in forma pauperis ln this event you must complete the application to proceed in forma pauperis
(IFP), setting forth the information to establish your inability to prepay the fees and costs or give security
therefore. You must also include a six (6) month history of your lnmate Trust Account. You can acquire the
application to proceed IFP and appropriate lnmate Account Certificate from the law library at your prison
unit.

28 U.S.C. 1915, as amended by the Prison Litigation Reform Act of 1995 (PLRA), provides, “. . .if a prisoner
brings a civil action or files and appeal in forma pauperis, the prisoner shall be required to pay the full
amount of a filing fee.” Thus, the Court is required to assess and, when funds exist, collect, the entire filing
fee or an initial partial filing fee and monthly installments until the entire amount of the filing fee has been
paid by the prisoner. lf you submit the application to proceed in forma pauperis, the Court will apply 28
U.S.C. 1915 and, if appropriate, assess and collect the entire filing fee or an initial partial filing fee, then
monthly installments from your Inmate Account, until the entire M filing fee has been paid.

lf you intend to seek in forma pauperis status, then do not send your complaint without an Application to
Proceed IFP, and the Certificate of Inmate Trust Account. Complete all the essential paperwork before
submitting it to the Court.

CHANGE OF ADDRESS

lt is your responsibility to inform the Court of any change of address and its effective date. Such notice

should be marked “NOTICE TO THE COURT OF CHANGE OF ADDRESS” and shall not include any
motions(s) for any other relief. Failure to file a NOTICE TO THE COURT OF CHANGE OF ADDRESS may
result in the dismissal of your complaint pursuant to Rule 4l(b), Federal Rules of Civil Procedures.

I.

PREVIOUS LAWSUITS:

A. Have you filed any other lawsuits in the state or federal court relat?ig to

imprisonment? YES NO

B. If your answer to “A"’ is yes, describe each lawsuit in the space below. (lf there is more than one lawsuit,
describe the additional lawsuits on another piece of paper, giving the same information.)

l. Approximate date of filing lawsuit:

 

2. Parties to previous lawsuit:
Plaintiff(s):

 

Defendant(s):

 

3. Court (lf federal, name the district; if state, name the county)

 

4. Docket Number:

 

5. Name of judge to whom case was assigned:

 

6. Disposition: (Was the case dismissed, appealed, still pending?)

 

7. Approximate date of disposition:

 

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Ir. PLACE oF PRESENT CoNFINEMENT. \>AL¥WF U\\\IT ll‘i$@ FH ‘lq% `DAUMP_T

T§y`t$ "1°\ 0 21
III. EXHAUSTIoN oF GRIEvANCE PRoCEDUREs.

Have you exhausted both steps of the grievance procedure in this institution? §,f YES _ NO
Attach a copy of the Step 2 grievance with the response supplied by the prison system.

IV. PARTIES TO THE SUIT:

A. Name of address of plaintiff Cu¥Ll_T,Y _JA'HES P>O‘ll¢[}\ 9\7-148(.0%304\..‘<`£2:\/\/|}&1:"[
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B. Full name of each defendant, his official position his place of employment, and his full mailing address

Defendant #l: C&Q'lzf_l l&\»l(‘_\CLE BWLG¥ CbRU~EC\/`[b*&lrl_. WAAC¢ER W|Lp-§
MALT“ §§an Allwl ELQHTW:S{»;E Di;e. P @. Bv>< act llu»t(§tizll_,,“ bd Tmz
Briefly describe the act(S) or omission(s) of this defendant, which you claimed harmed you
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2 meaeu PLz, S+¢ ms warsaw , `\'1;_»14§ award
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Defendant #3: MIEC/l&’l$_l,l. Pl<l`f LL‘[,?, V-MDJ>EA A"\' DA'\L|SCA S`\'A"l€. IAEL
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Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.
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Defendant #4: QOLMM>A WL“`F!:ELD’,~ A€‘S.ET. W»HL\>§,“ A`l DA\L|$€M inn :.l-Mll_
-Po, 334 utmost \>)<LLAsi “'~\“wrs “IS;)_L»S,
Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.
A \>EPQUAT):¢>A 9\¢ €w C»¢LL meet/rsr 310 cwa wl S§c,w@mba,
Defendant #5: C;\'LRD`\l WA"\,LA(',E,) D§\>u`(\l big R,EC»`\)OQ PRT_'\(A’TE .PTLCSOA
2 FruAAc/LAL PLz 3a 300 unmarr\l.v, `\'wA; ‘1‘13110.

Briefly describe the act(s) or omission(s) of this defendant, which you claimed harmed you.

A D§"Pr>,r\l/t~rz;m er mr QgLL L~;<Eac:st: 210 \>4~|§ id Sgow€zmr¢l;‘\.

 

 

 

 

 

 

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State here in a short and plain statement the facts of your case, that is, what happened, where did it happen,
when did it happen, and who was involved. Describe how w defendant is involved. You need not give any
legal argument or cite anv cases of statutes. lf you intent to allege a number of related claims, number and set
forth each claim in a separate paragraph Attach extra pages if necessary, but remember that the complaint
must be stated briefly and concisely. IF YOU VIOLATE THIS RULE, THE COURT MAY STRIKE YOUR
COMPLAINT.

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VI. RELIEF: State briefly exactly what you want the court to do for you. Make no legal arguments Cite not
cases or statutes

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VII. GENERAL BACKGROUND INFORMATION:
A. State, in complete form, all names you have ever used or been known by including any and all aliases:

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B. List all TDCJ-ID identification numbers you have ever been assigned and all other state or federal prison
or FBI numbers ever assigned to you, if know to you.

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VIII. SANCTIONS:
A. Have you been sanctioned by any court as a result of any lawsuit you have filed? YES L NO

B. If your answer is “yes”, give the following information for every lawsuit in which sanctions were
imposed. (If more than one, use another piece of paper and answer the same questions.)

l. Court that imposed sanctions (If federal, give district and division):

 

Case Number:

 

 

2
3. Approximate date sanctions were imposed:
4

Have the sanctions been lifted or otherwise satisfied? YES NO

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as any court ever warned or notified you that sanctions could be imposed?

D. lf your answer is “yes”, give the following information for every lawsuit in which warning was imposed.
(lf more than one, use another piece of paper and answer the same questions.)

l. Court that imposed warning (if federal, give the district and division):

 

2. Case number:

 

3. Approximate date warning were imposed:

 

Executed on: go\( i§, 2333 [" UL,L{~\» j QD`i'\iq;A ja

(Date) (Printed Name)

\\(Signature of Plaintiff)

PLAINTIFF’S DECLARATIONS

l. l declare under penalty of perjury all facts presented in this complaint and attachment thereto are true and
correct.

2. l understand if l am released or transferred, it is my responsibility to keep the Court informed of my
current mailing address and failure to do so may result in the dismissal of this lawsuit

3. l understand that l must exhaust all available administrative remedies prior to filing this lawsuit

4. I understand l am prohibited from bringing an in forma pauperis lawsuit if l have brought three or more
civil actions in a Court of the United States while incarcerated or detained in any facility, which lawsuits
are dismissed on the ground they were frivolous, malicious, or failed to state a claim upon which relief
may be granted, unless l am under imminent danger or serious physical injury.

5. l understand even if l am allowed to proceed without prepayment of costs, l am responsible for the entire

$350 filing fee and costs assess by the Court, which shall be deducted in accordance with the law from the
inmate account by my custodian until the filing fee is paid.

Signed this i 5 day of bx@e§'§.k)i B§Q , 20 i ?>

(Day) (Month) (Year)

(Printed Name)

Q.Mrw <1.9¢9@»9@11,

QSignature of Plaintiff)

 

 

WARNING: The Plaintiff is hereby advised any false or deliberately misleading information provided in
response to the following questions will result in the imposition of sanctions. The sanctions the Court may
impose include, but are not limbed to monetary sanctions and/or the dismissal of this action With prejudice.

ATC 1983 (Rev; 04/06) Page 5 of 5

 

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CORRECT|ONAL MANAGED CARE
CL|N|C NOTES

Patient Name: BOYK|N, CURLEY J TDCJ#: 1774868 Date: 06/28/2012 12:10 Faci|ity: DAWSON
(JD)

Age: 47 year Race: B Sex: male

Most recent vita|s from 6/28/2012: BP: 124 / 821(Sitting) ; Wt: 218 Lbs.; Height: 72 |n.; Pu|se: 60
(Sitting) ; Resp: 18 / min; Temp: 96 (Ora|)

CURRENT PEAK FLOWS: PF1: ; PF 2: ; PF 3:

PR/OR PEAK FLOWS: PF1 : ; PF 2: ; PF 31

Allergies: NO KNOWN ALLERG|ES

 

l Patient Language: ENGL|SH Name of interpreter, if required:

Current Medications:

PROVENT[L HFA 90MCG INH 200PF ORDERING FACILlTY: DAWSON (JD) LAST DATE GIVEN KOP: 06/12/2012 03: l9:
2 PUFFS INHALAT!ON TWICE DAILY for 50 ORDERING PROVIDER: REID, ROY M REFILLS: 0 / 2
Days KOP

' EXPlRATlON DATE: ll/04/2012 08.'38:00Al\

Today's Prob|em: FU SLEEP APNEA- NEEDS REF|LL ON ALLERGY MEDS WH|CH MAKE HlS SLEEP APNEA
EVEN WORSE
06/28/2012 12110
S:HE |S !N SEG FOR PROTECT|ON- HlS LOUD SNOR|NG CAUSES HlS DOEM MATES TO "SAULT HlNi

O:MARKED NASAL CONGEST|ON
A:

Plan is as follows: HE HAS REFERRAL TO OPTOMETRY SUBM|TTED

HE HAS BEEN APPROVED OF PULMONARY\REFERRAL ON SEPT 1, 2012
REF|LL CLAR|T|N AND PHENYLEPHR|NE

FU WlTH DR RE|D |N OCTOBER TO CHECK ON SLEEP APNEA

Started Meds:
LORATAD|NE 10MG TABLET 14018463 06/28/2012 12:13
1 TABS ORAL QD KOP . ,
F|NAL EXP. DATE: 9/26/2012 12:13:00PM REF|LLS: 2 DURAT|ON: 30 Days

PHENYLEPHR|NE 10MG TABLET 14018465 06/28/2012 12:13

2 TABS ORAL TID KOP
F|NAL EXP. DATE: 7/03/2012 12:13:00FM REF|LLS: 0 DURAT|ON: 5 Days

Procedures Ordered:

Date Time Descrlption Diagnosis Comments Specia| instructions
6/28/2012 MEDZ-|NTERMED|ATE OFFICE VtS|T sleep problems

121 14PM (F))

1 of 2

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Texas Department of Criminal Justice OFFICE USE ONLY

Grievance #; "Zj @ 5 UXO‘Q;i b ‘

pate Re¢eived; Mzgg___
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offender Name= O./\llLi/E\i B")`i LLA “ TDCJ#_ l 17§ MOK investigator lo#=_lz§__
Unit: DA\Ki~gei‘l Housing Assignment: _ 317 3 §§ ~'& Extension Date:___ML~~"

Unit where incident occurred: ry Date Rexd to OffenM ‘ §§ l zmg

 

0FFENDER
STEP 1 GRIEvANCE FoRM

 

 

 

   

 

 

 

 

 

You must try to resolve your problem with a staff member before you submit a formal complaint The only exception is when
appealing the results of a disciplinary heari

Who did you talk to (name, title)? %€R%E'(i§' illi$g§§.i,i.. ih MEBICM_ PE§UCM When?.mr] mm ig) QCiB g l
What was their response? QEV-E')E*’i\Tp Mo\i£ IAT@ c£\\‘\-;Uri, iv Pvii.irmii\ B§Cill€i_ iil`» M\§.\>IC*’L RE§`TMC`§DN
What action was taken? C?R£E‘iffb`ii W*g WUTT§}!\ ii DI‘SC,JZPLIM\N ~Filiz REFU-Qlk% iii HG‘i§. ?WE D"i Pi‘iD

S§ate your irievance in the space provided. Please state W 0, what, when, where aZd disciplinary case number if appropriate.

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1-127 From (Revised 9-1-2007) YOUR slGNATURE rs REQUIRED oN BACK oF '; ins FoRM (OVER)

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tcri ri 65

Dr. Reid did not order you to be placed in segregation. He recommended single-cell housing due to your loud

* snoring bothering other offenders. Security staff explained to him that no single cell housing was available on

this unit. Ot`fender did not meet criteria for medical isolation.

 

State the reason for appeal on the Step 2 Form

Signature Authority: Date: z / v
lf you are dissatisfied with the tep l res onse, you Nsubmit a Step 2 (l-128) to the Unit Grievance lnvestigator Within 15 days from the date of th /St l response.

»Returned because: *Resubmit this form when corrections are made.
'l] l. Gn`evable time period has expired.

I:] 2. Submission in excess of l every 7 days. *

.l:] 3. Originals not submitted. *

m 4. Inappropriate/Excessive attachments *
m 5. No documented attempt at informal resolution. *

m 6. No requested relief is stated. *

[:] 7. Malicious use of vulgar, indecent, or physically threatening lar

[] 8. The issue presented is not grievable.
I:] 9. Redundant, Refer to grievance#

\:\ 10 Illegible/Incomprehens. \le.*

l:l ll Inappropriate. * ‘

UGI Signature: \
I-127 Back (Revised 9-!.-2007)

 

 

OFFICE USE ONLY’
lnitial Submission UGI Initials:
Grievance #:

 

Screening Criteria Used:

Date Recd from Of`fender:

Date Retumed to Offender:

2"" submission UGI rniiiais:

Grievance #:'

 

Screening Criteri'a Used:
Date Recd from Offender: ’

Date Retumed to Oft`ender: d .
3"’ submission UGl Iniiiais:
Grievance #:

 

Screenin g Criteria Used:
Date Recd from Offender:
Date Retumed to Offender:

 

Appendix F

 

 

Unit where incident occurred:

Texas Department of Criminal Justice

'STEPz

Offender Name: QU‘LLL\, ‘ZC \H¢'LN

T/;<:I;P;U
Unit\\W~SC-EL M`\ l H Housing Assignment: C( nw />

APRZBZ

C’ase 3:13-cv-O4643-D Document 3 Filed 11/21/13 Page 25 of 75 Page|D 28
13

 

OFFENDER
GRIEVANCE FORM

 

 

OFFICE USE ONLY

Grievan,ce #: ZC) /?)OX@L/Xé"
1 3 2013

IECI Recd D:\tc:

   
    

HQ Recd Date:
Date l)ue:
Grievance Code:
lnvestigator lD #:

Extension Date: _________

 

You must attach the completed Step ] Grievanee that has been signed by the Warden far your Step ..2 appeal la he
accepted You may not appeal to Step 2 with a Step / that has been returned unprocessea'.

Give reason for appeal (Be s])ecif`lc).

l am dissatis)€ea' with theresponse at Step l because...

 

C¢m:\§\lwr N\@<'g Tw AP?EAL 'T\¥E §Te\v mg Mg»,uge 0\1!1:1:»11>&\2
\'>,r\> mr '\»'1\;,§'1 ammer tim Hax:) rea we LMIO“

haw AD»»\;¢\\“\;$T¢LA~mv._s 1443 A RE$;)@»A):BIL;T~¢ To PQDY&CT L;'\=E
AM> mm T\»HZ\| WA\| l~\oT C¢»£Dg;'r lord Su,cH P¢zo“f§'cficd O\\\

llgw¢ simms Mr;m 011 §A@~m&r;l> Prm:g@d Parvm:éc;» it

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l-128 Front (Revised ll-ZOIO)

YOUR SlGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix G

 

   

 

 

Case 3:13-cv-O4643-D Document/S Filed §.1/21/13 Page 26 of 75 Page|D 29
q_\)‘b

 

 

 

 

 

 

Offender Signature: GW\/qu/X B,D V‘))X€,bn

Grievance Response: q

A Step 2 Medica| Grievance investigator reviewed your claim of retaliation with removal of medical restriction for which you' received a
disciplinary for refusing to move into general population. ¥our request for the restoration of a medical isolation restriction pending Hospital

Ga|veston opinion/was also reviewed.

The appellate review of the grievance supports the response provided at the Step 1 level in its entirety. The S_tep 2 review revealed that your
Sleep Study was completed on 3/14/2013. You are currently scheduled with a provider to discuss the findings of your Sleep Study. The
discontinuation and/or issuance of medical restrictions is the clinical determination of the health care provider, which may be made by chart

review or physical assessment.

OPS

Signatiire Authority: M@

Date: W\Zf;\-\' \Q'l Q.O\B

Robert H. I:iane Jr.
Health Services Div.

Date= ?/%57’/<3

 

Retumed because:

[j 1.
l:| 2.
[] 3.
l:| 4.
[] s.
l:] 6. lnappropriate. "'

"‘Resubmit thisfarm when corrections are made.

Grievable time period has expired.
Illegible/lncomprehensible. * '
Originals not submitted. *
lnappropriate/Excessive attachments. *

Malicious use of vulgar, indecent, or physically threatening languagi

CGO Staff Signature:

 

 

UFFICE USE ()NLY

lnitial Submission

Date UGI Recd:

C(i() lni!ia|s:

 

Date CGO Recd;

 

(check one) SCl’€€ll€d

Comments:

|mproperly Submitted

 

Date Retumed to Ot`t`ender;

1\1|

2 Submission

Date UGl Recd:

(`GO lnitiiils:

 

Date CGO Recd;

 

(check ()ne) SC!CCllCd

C<)mmenls

lmproper|_y Siil)iiiit!ed

 

Date Retumed to Offender.

3"' Submission
Date UGl Recd:

(T(';() |nitials:

 

Date CGO Recd:

 

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Coinments:

|mpropcrly Submitled

 

Date Retumed to Oft'ender:

 

1-128 Back (Revised 11-2010)

Appendix G

 

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ease 3:13'¢0&7>04643-0 Documems Fiied11/21/13 P

   
  

   

 

 

 

 

Texas Department of Criminal Justice ' 0FF1CE USE ONLY v
f " " Wi'~":. 1
OFFENDER Grievance #: / /2() ! f('/\?‘
_ STEP 1 GRIEVANCE FORM F"12 ~» n 1 _
Offender Name: QuzLE\] BS\¥ \LDL TDCJ # ]7~1 48 big Grievance Codc: ”£j ?_Z:£>
’ , lnvcsli atorlD #:==L. i 22 7 W;
Unit M Housing Assignment: B"g vi » W § z Q’:"
' hxtcnsion Da\e: 1 11 WM _,
1 /)\ l
Unit where incident occurred: DAWSO*`\‘ BFML jA_L\-' pate Reid 10 one AR_£,_Q_Z,UU

 

 

 

You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is when
appealing the results of a disciplin hearing.

who did you talk m (name, mie)? AC/I Ll`f`i iiEiiUli ADi/il’i~'\'§‘i’ W`t’TOR when? F_E B_ 7_;_ 2._’_°_@._ __
What was their response? FAC ILIT\i Ai> HT:N AQATDQ iiih’\i‘i. ihi} RE€>PCA DE:D TD THE 13 UD
What action was taken? T;I \_I Ab A epith 'A(N tag LI" I-\> WQ,OU€?A m @JLIE`(AMQE ®PQLEQ§

 

State your greivance in the space provided. Please state who, what, when, where and disciplinary case number if appropriate.

C,\L;E\/iiir ALL§Q,§,\> Tii»ts Qsi>_p;ev/wcé tamm “ni£ VAe;:LT.T\l
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FEB `l 9 7nm

 

 

 

 

 

 

 

 

 

1-127 Front (Revised 11-2010) YOUR SlGNATURE lS REQU|RED ON BACK OF THIS FORM (OVER)

Appendix F

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Action Requested to resolve your Complaint.

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Oiiender Signature: CJ»U\-p U“\/~ VE'¢"*\”QJ;O 1 v Date; §,E B?~Uiig\_i rizzo

Grievance Response:

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is aj

w

You were charged the Health Services Fee for a visit on 5/21/12. You receive a monthly 'l`rust Fund statement
that indicates any co-payment charges for medical encounters. In accordance with the grievance mechanism,
you have 15 days to file a grievance after the time an incident occurs or you have knowledge ot' an incident We
are unable to review charges that go beyond the past 90 days. You have exceeded reasonable time limits for

filing on this issue. No additional action is warranted.

1 Signature Authority: H/}W `§/La`/l§/ Date: 5/9"‘ /E>

lf you arc dissatisfied with the Step l response, you mayt{j~n @~nit a Step 2 (l 128) to the Unit Grievance lnvcstigator within 15 days from thc date 01` thc §th l response
State the reason for appeal on the Step 2 l orm.

 

 

Retumed because: l"Rcsubmit this form when corrections are made. *
w w ‘ ‘1 n " a
_ 4 , _ Oi*rlCi; Ule ONLY

E l. Grievable time period has expired _ .

. . . lgmg§ghmis_§gm UGI Imtials: _______
m 2. Submission in excess ofl every 7 days. * _

Grievance #:
i:] 3. Originals not submittcd. *

 

Screening Criteria Used'

 

m 4, lnappropriate/lixcessivc attachments *

 

 

 

 

Date Recd from Oi`l`cndcr:
g 5. No documented attempt at informal rcsclution. * pate Retumed to ()ffcndcr'
6. xt l` f `. ‘ . * . .

,L_-] No mun cd m le w stated 2od Submission UGI Imtials:

m 7. Malicious usc of vulgar, indecent, or physically threatening language * Grievance #.

i:] 8. The issue presented is not grievable, Screening Critcn‘a Us¢d;

!:| 9. Redundant, Rcfcr to grievance # Date Recd from OfTeiider;

I:] l(). lllegible/lncomprehensible. * Dale Retumed to Ol`fender'

m ll. lnappropriate. * 3rd Submission U(}| lntitials:

UG| Printcd Name/Signature: Grievance #:

 

 

Screening Critcn`a Used‘

 

Application of the screening criteria for this grievance is not expected to adversely
AlTect the offendcr’ s health. Date Recd from Ofl"cnder'

Date Retumed to Of`l`ender'

 

 

Medica| Signature Authority:

 

 

l-127 Back (Revised ll-ZOIO) Appendix F

 

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Case 3:13-cv-O4643-D t Document 3 Filed 11/21/13 Page 29 of 75 Page|D 32

JUL 0 3 2013
Departamento de .lusticia Criminal de Texas OFFICE USE ONLY

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N°"‘b"’ QWL\'EN BO\“LY'“ 'ri)c.i # l‘l"lll§ to§ i)i.i¢oo.= " /
Unidad; "%Ng`oi~ll' D# Cclda Asignada: %.-%__b`_ Grievanc¢(.`ode:

 

 

lnvestlgstor lD #:

Unidad contie oeurrio oi incidence DA\MSM\X %Tl\‘\'l’. 'JA`IL

 

Extension Dlu:

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(l- / 2 7 ) can la re.s'pue.rtd":v lay/irma del guardian U.i'ted no pilede apc/ar su que/a al Segundo nivel, si .\'u que/a al primer
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Escriba la razon de su apelacitiil‘ sea espectl`lco). l’a na esloy .i'aris/echo can la re.\'puesta del Pasr) l porque....

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l-_'lZSS Frente (Revision l l-ZOlt)) F|RME AL REVERSO DE ESTA FORMA (Continua al reverso)

Appendix C

 

Case 3:13-cv-O4643-D Document 3 Filed 11/21/13 Page 30 of 75 Page|D 33

 

 

 

 

 

 

Flrma delOl'ensor: WM£ ié~>Y F¢¢hg; Apizli_ 317 Q.@ig

Respuesta Admlnistrativo en referencia a su apelacion: _ annual
A review of the Step 1 grievance and documentation was completed regarding your complaint that yo:`i believe (yj/i<;:|v;:rledi;l;a]rge\i(jotjh;:$ked to
Health Services Fee of $100 in error. You stated you were charged this for sleep apnea, which is a c ronic me

have the money refunded to you.

 

 

Review of the medical record indicated you were seen by the provider on 5/21/2012 for complaints of snoring, rsh<:jrit:ers;s§foi;r:|zaet(;ié ;:rde;
cough. You stated your private physician prescribed you an inha|er for asthma. There was no documentla_i;ion ;|) nao[ye will not be refunded to
at this visit. A diagnosis of sleep apnea was not made until 7/19/2012. The charge from 5/21/2012 is va i an y

you for this visit.

. . . . . k
Per the Offender Orientation Handbook, all complaints must be Filed within 15 days of the incident. Please refer to your Orientation Handboo
for additional instructions regarding filing complaints. .

 

 

 

 

Firma de la Autoridad: . ' O€('K [££\,( Mecha: v § §(2 .»<;(:[}
` " l l
» OFFICE USE ONLY
Su queja l'ue regresada por las siguentes rozones: » pan um m L. own Sol.mme
initial Submission (,‘(;0 |.i¢i.|.;
*Presente esta forma otra vez cuando haya hecho las correcciones ' Dme UG| Recd:

 

 

_. 0 301 ) Date CGO Recd:

 

 
 

m l. El periodo para presentar su queja ha

 

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[:] 3. El documento original no fue presentado. * Date Retumediot>rtender:
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ij 4. La queja tiene paginas excesivas o inapropiadas. * w ('Go '"""|" ___
. _ Date UG| Recd:
[:l 5. Contiene lenguaje vulgar, i(i;decente 0 amenazador l`isicamente. * Date CGO Recd:
[] 6, NO es apropiado.* amc Huck|ebridge, RN’ BSN (checli one) Scrcei\ed _linproperly Submitted
y Manager [II Commenm_

 

O/j‘" ce of Professional Standards'
Date Retumed to t)l'l`ender:

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CGO Stal'f Signature: y Date UGI Recd:

 

 

Date CGO Recd:

 

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Comments:

 

1 Date Retumed to tit'i'cndcr:

 

 

 

 

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ease 3:13-cv-04643-D Documeme i§iledl 1/1 O 31 of 75 PageiD 34

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,/

- . Offender C. Boykin
TDCJ #1774868

SJECT: Sia!e briefly the prob!em nn which you desire assistance 7 z §
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i- 353 33\..‘¥\533;” QM`§`> 3,,.;:‘_;3,333_4§_
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_ ~" » APPEN>I)€ ‘>

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Texas Department of Criminal Justice OFFICE USE QNLY

OFFENDER GzC(B/W*V“/O
S T E P 1 GRIEVANCE FORM Dare Receivcd iv '~14`1'"

‘ y CL UXT" Date Duc: _ . ` 5 d 4
Offender Name: C'A,m/\,E\i RC\\ iqjk 5 .._> `TDCJ # rim \\‘g (£ Grievance Code:Q;L-£_- )_
§ § al _ Investigatorl . 5 BZS `

Unit: _DM&;'X_ Housing Assignment: ‘ ‘ z WHW

Extcnsion Date:

  

 

 

 

 

 

 

 

121 1 5 “1‘ ft
Unit Where incident occurred: Date Retdt° Off""“d§r " '~ ltd w
.\
You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is when
appealing the results of a disciplil‘$§% bearin 1 l 1 ` `,
Who did you talk to (name, title)? QE;LD When? €W`H¥K \4 203

 

What was their response? MWB AP~E Q£S->PUSIBLL m %C““E.DULJ,AQ: ““`}'{. gl.¥.£\? STUD\i
What action was taken? uTMB GTBOV~ `LD AQT®A/ RELC“EDU\.QL m %.L££P %Tub\i

State your greivance in the space provided. Please state who, what, when, where and disciplinary case number if appropriate.

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4120;3-,

 

 

 

 

I-127 Front (Revised ll-ZOlO) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix F

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\ '\
,,r Offender Signature: C"'U~)LQ*’>\' gail

 

 

_>Date: Q'H, q 2®\3

 

Grievance Response:

You were referred to the Pulmonary Clinic 6/7/12 for evaluation. The appointment was scheduled for 9/4/12
and you missed the appointment You were re-referred on 9/20/12 and seen on 2/11/13. You were referred for a
sleep study on 2/15/13 and this was completed on 3/14/13. You currently have a pending flu appt with
Pulmonary to discuss the findings of the sleep study. All appointments were within the timeline mandated by

policy.

Signature Authority: H'WY~@M

Date: q/qzj

If you are dissatisfied With the Step l responso,/yo may Submit a Step 2 (1~128) to the Unit Grievance Invcstigator within 15 days from the dz{te o/f the Step l response.

State the reason for appeal on the Step 2 Fo

Retumed because: *Resubmit this form when corrections arc made`.1
l:l l. Grievablc time period has expired.

|:_l_., 2. Submission in excess of l every 7 days. *

m 3. Originals not submitted *

|:| 4. Inappropriatc/Excessive attachments *

|:i 5. No documented attempt at informal resolution *

m 6. No requested relief is stated *

|:] 7. Malicious use of vulgar, indecent, or physically threatening language *
|:| 8. The issue presented is not grievablc.

m 9. Redundant, Refer to grievance #

im 10, Illegiblc/Ineomprehcnsible. *

 

l:| ll. lnappropriate. *
UGl Printed Name/Signature:

 

initial submission UGl Iniiiais;
Grievance #:

 

Application of the screening criteria for this grievance is not expected to adversely
Affect the offender’s health.

Medical Signature Authority:

 

OFFICE USE ONLY

Screening Criteria Used'
Date Recd from Offender:
Date Retumed to Offender‘

2nd Submission UGI Initials:

Grievance #:

Screening Criteria Used:

Date Recd from Offender:»___i_`____

Date Retumed to Offender'
3rd Submission UGl lntitials:
Grievance #:

Screening Criteria Used'
Date Recd from Off`ender:
Date Retumed to Of`fendcr'

 

 

I-127 Back (Revised 11-201())

Appendix F

 

SUBJECT: State briefly the problem on which yo“. "desire '15istance.
Case 3:13-0\/- 04643- D Document 3 Filed 11/21/13 Page 34 of 75 Page|D 37

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Name: MM__` No: i’i_i q¥tbg Unit: DA'LMAA
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REASON FOR REQUEST: (P|ease check one)

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PROPER PERSON, AND GET AN ANSWER TO YOU MORE QU|CKLY.

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TO:

Unit Assignment, Transfer (Chairman of C/assification,
Administration Bui/ding)

Hestoration of Lost overtime (Unit Warden-if approved it
will be forwarded to the State Disciplinary Committee)

Hequest for Promotion in C/ass or to Trusty C/ass
(Unit Warden- if approved will be forwarded to the Dlrector
of Classification)

C/emency-Pardon, parole, early out-mandatorysupervision
(Board of Pardons and Paro/es, 8610 Shoal Creel< Blvd.
Austin, Texas 78757)

MEDI<;A\_ DEPA¢>:ri~/\§t't

(Name and title of official)

ADDRESS: bé\-i<i&€\’ U*~Y§T

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\/isiting List (Asst. Director of classification Administration
Building)

Paro/e requirements and related information (Unit Paro/e
Counselor)

/nmate Prison Record (Request for copy of record, infor-
mation on parole eligibility, discharge date, detainers-Unit
Administration)

Persona/ lnter\/iew with a representative of an outside
agency (Treatment Di\/ision, Administration Bui/ding)

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DATE:

 

SUBJECT: State briefly the problem on which you desire assistance
Case 3:13-cv-O4643-D Document 3 Filed 11/21/13 Page 36 of 75 Page|D 39

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No: \`T'l ""i& {§c£$ unit: \>A\-_Mgr___

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REASON FOR REQUEST: (P|ease check one)

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PROPER PERSON, AND GET AN ANSWERTOYOU N|ORE QU|CKLY.

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TO:

Unit Assignment, Transfer (Chairman of C/assification,
Administration Building)

Restoration of Lost overtime (Unit Warden-lf approved, it
will be forwarded to the State Disciplinary Committee)

Ftequest for Promotion in C/ass or to Trusty C/ass
(Unit Warden- if approved will be forwarded to the Director
of C/assification)

Clemency-Pardon, parole, earlyout-mandatorysupervision
(Board of Pardons and Paro/es, 8610 Shoa/ Creek B/vd.
Austin, Texas 78757) .

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(Name and title of official)

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\/isiting List (Asst. Director of classification Administration
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Paro/e requirements and related information (Unit Paro/e
Counse/or)

/nmate Prison Record (Request for copy of record, infor-
mation on parole eligibility discharge date, detainers-Unit
Administration)

Persona/ /nterview with a representative of an outside
agency (Treatment Division, Administration Bui/ding)

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Case 3:13-cv-O4643-QE)Q\%€HMT§AE§WFMM§L JB§@|%§Q of 75 Page|D 42
|NMATE REQUEST TO OFF|C|AL

REASON FOR REQUEST: (Ptease check one)

PLEASE AB|DE BV THE FOLLOW|NG CHANNELS OF COMMUN|CAT|ON. TH!S WILL SAVE TiME, GET YOUR RE-
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Administration Bui/ding) Building)

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C|asstfication) Administration)

C|emency-Pardon, parote, earty out~mandatory supervision 4 Personat tntervtew with a representative ot an outside
(Board ot Perdons and Parotes. 8610 Shoet Creek Btvd. agency (Treatment Division, Administratth But|ding)
Austtn, Texas 78711

To; C;>.`\/ \~\O"tZID N\E\>“` l biz'§i?t§<;\/_E_?\ DATE:_N§&.Q:EL 23_;__:2°______@

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Name: _C/U\VL] f\§ BC`H(L‘l mm NO; _ § 77q g (o§_ Unit: \>A\_\MQT

Living Quarters: C mg Work Assignment: 7 §§ rt

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|N|\llATE REQUEST TO OFF|C|AL
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Unit Assignment, Transfer (Chairman of C/assification,
Administration Building)

Restoration of Lost overtime (Unit Warden-if approved, it
will be forwarded to the State Disciplinary Committee)

Request for Promotion in Class or to Trusty Class
(Unit Warden- if approved, will be forwarded to the Director
of C/assification)

C/emency-Pardon, paro/e, earlyout-mandatorysupervision
(Board of Pardons and Paroles, 8610 Shoal Creek Blvd.
'Ausrin, Texas 78757)

To; T§“-“@T@ \`§\'E\\LM\, \));\zg(;'(nt>_

(Name and title of official)

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ADDRESS:

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\/isiting List (Asst. Director of classification, Administration
Building)

Paro/e requirements and related information (Unit Parole
Counselor)

inmate Prison Ftecord (Hequest for copy of record, infor-
mation on parole eligibility, discharge date, detainers-Unit
Administration)

Persona/ Interview with a representative of an outside
agency (Treatment Division, Administration Building)

ina 3\, 1013

DATE:

 

SUBJECT: State briefly the problem on which you desire assistance
Case 3:13-cv-O4643-D Document 3 Filed 11/21/13 Page 42 of 75 Page|D 45

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|N|V|ATE REQUESTTO OFF|C|AL
REASON FOR REQUEST: (P|ease check one)

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Unit Assignment, Transfer (Chairman of C/assification,
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Hestoration of Lost overtime (Unit Warden-if approved, it
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(Unit Warden- if approved, will be forwarded to the Director
of Ciassification)

Ciemency-Pardon, paro/e, earlyout-mandatorysupervision
(Board of Pardons and Paro/es, 8610 Shoa/ Creek Blvd.
Austin, Texas 78757)

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Visiting List (Asst. Director of ciassification, Administration
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Parole requirements and related information (Unit Paro/e
Counselor)

inmate Prison Hecord (Hequest for copy of record, infor-
mation on parole eligibility, discharge date, detainers-Unit
Administration)

Personal interview with a representative of an outside
agency (Treatment Division, Administration Building)

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(Name and title of officia/)

ADDRESS: MU

 

 

Case'l§¢§é\§\mp$$:@n@ét:&££tr$mi!l?hl imm Pac e 44 onEF igaEgéiBE49NLY

/~rv _`\ .. OFFENDER Grievance#: @/z// i§ 17/
Date Received: `

STEP 1 GRIEVANCE FGRM Date Due: D:¥"@/ Z’U/Z/

pig \>\ Grievance Code: 50&

Offender Name _LHQML TDCJ # M Investigator ID #: ZB
Unit M_ HOllSiIlg Assignment: 04 QE 51 Extension Date: ' ~

Unit where incident occurred: D‘W“-’>°N wife gm Date Retd to Offender:

 

  

   

 

 

 

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You must try to resolve your problem With a staff member before you submit a formal complaint. The only exception is When
appealing the results of a disciplinary hearing.

Who did you talk to (name, title)? FL-DOCL BEQB_EM`T" l When? HMH l ll l 3¢

What Was their response? CLFJO/l SEQ (~3> EH'N"J" UN 425 $PDM&
What action Was taken? , ..SA\M`E NDNE

 

 

State your grievance in the space provided. Please state Who, what, when, where and the disciplinary case number if appropriate

 

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Action Requested to resolve your Complaint.

 

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];§34!_5;, ‘

Offender Signature: a luisa/1

Grievance Response:

Date: 1!\&! \q¢ BEMA¥ 2 2 gun

Investigation into your complaint did not find evidence to
substantiate your allegations of your living conditions being

violated..

Sergeant Jennings reports that procedures are being
followed according to your current restriction.

If you are having

problems in this are inform the floor sergeant. There is no action

warranted on this matter.

 

Signature Authority:

JUN 2 8 2012

Date:

 

lf \ou are dissatisfied with the Step l resw@ univ submit a Step 2 (1-128) to the Unit Griev ance Investigator within 15 days from the date of the Step 1 response.

State the reason for appeal on the Step 2 Form.

 

Retumed because: *Resubmit this form when the corrections are made.

m l, Grievable time period has expired

m 2. Submission in excess ofl every 7 days. *
m 3. dOriginals not submitted. * § m 4
m 4. ]nappropriate/Excessive attachments * .': f § f: 1
m 5. No documented attempt at informal resolution *
m 6. No requested relief is stated. *

m 7.`Malici0us use ofvulgar, indecent, or physically threatening language *
m 8. The issue presented is not grievable.

|:l 9. Redundant, Ret`er to grievance #
m l(). lllegible/lncomprehensible. *

 

m ll. inappropriate *
UGI Printed Name/Signature:

 

Application of the screening criteria for this grievance is not expected to adversely

Affect the offender’s health.

Medical Signature Authority:

 

1-127 Back (Revised ll-ZOI 0)

 

 

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lnitial Submission UGl lnitials:_

Grievance #:

 

Screening Criteria Used:
Date Recd from Oft`ender:
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Grievance #:

 

Screening Criteria Used:
Date Recd trom Offender:
Date Retumed to Offender:
QL§M UGl Initials:
Grievance #:

 

Screening Criteria Used:
Date Recd from Offender:

Date Retumed to Ot`t`ender:

 

 

Appendix F

 

` Case’S:lS-cv-O4643-D Document3 Filed11/21/13 Pag ` `
" OFFICE'USE ONLY

Texas Department of Criminal Justice Grievwww¢=l " 77@0

UGI Recd Date: j

S TE P 21 OFFENDER HQ Recd Date:

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GRIEVANCE FORM DMW
Offelldel' Name: C'AQL¥_W 304 lLL“ TDCJ # \,lvlu g log Grievance Code: d
Unit: BAL\\\'M?~T Housing Assignment: 0 \O& Investigator ID #;

 

 

 

 

g . ,
Unit where incident occurred: DA\..MPT U “IT Extension Date:

 

 

You must attach the completed Step 1 Grievance that has been signed by the Warden for your Step 2 appeal to be
accepted You may not appeal to Step 2 with a Step I that has been returned unprocessed.

 

Give reason for appeal (Be specific . 1 am dissatisfied with the response at Step l because...

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I-128 Front (Revised 9-1-2007) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix G

 

 

 
    
  
  
  
   
   
    
 
 
 
   
 
 

Case 3:13-0\/- 04643- D Document 3 Filed 11/21/13 Page 47 of 75 PagelD 50,

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Offender Signature: QM `j,o.M qé-C>L¢(Q/~Y) Date: :YUM£ q '20\3

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Grievance Response:

A Step 2 Medical Grievance investigator reviewed your claim that a ten month delay deprived you of medical treatment in the form of a
breathing machine.

The appellate review of the grievance supports the response provided at the Step 1 level in its entirety. You were most recently seen on
7/18/2013, at which time a Po|ysomnography was completed to evaluate you for suspected sleep disorder breathing. You may wish to address
nndings and specialty recommendations with the facility level provider through submission of an I-60 to the facility level medical department

MMLM Date= 7/¢'//9

Returned because: *Resubmit this form when corrections are made. OFFICE USE ONLY

 

 

Initial Submission CGO Initials:
Date UGl Recd:
l:] 2. Illegible/Incomprehensible. * Date CGO Recd:

l:l 1.. Grievable time period has expired.

 

 

|:| 3_ Originals not submitted. ~k (check one) Screened lmproperly Submitted

 

Comments.
|:I 4. Inapproprlate/Excessive attachments. *
Date Retumed to Offender:

I:l 5. Malicious use of vulgar, indecent, or physically threatening language. zesubmission CGO loitials:

I:] 6. Inappropriate. * Date UGI Recd:
Date CGO Recd:

 

 

(check one) Screened Improperly Submitted

Comments:
CGO Staff Signature: Date Retumed to Offender:

 

;L' submission CGO Inirials;
Date UGl Recd:
Date CGO Recd:

 

 

(check one) Screened Improperly Subrnitted

Comments:

 

Date Retumed to Offender:

 

 

 

l-128 Back (Revised 9-1-2007) Appendix G

 

Case 3:13-cv-O4643-D Document 3 Filed ~11/21'/13. * Page 48 of 75 PagelD, 51 ,

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STEP 2 OFFENDER HQM|W still iii tmt

 

     

    
   
 
 

GRIEVANCE FORM umw / §
Offender Name: aUl/LLLu BC\HL.I.N TD y #\'I.H-l»gl_og Grievance Code: z

 

Unit: DA W$DM Housing Assignment: ` `SBC,_, q / lnvesrigamrll) #;

l .
Unit where incident occurred: __ l / EX*€'\SiOH Dafer g “| g :‘9/

You must attach the completed Step ] Grievance that has been signed by the Warden for your Step 2 appea/ to /)e
accepted You may not appeal to Step 2 with a Step / that has been returned unprocessed.

 

 

 

 

 

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Appendix G

 

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"' ' Case 3:13-cv-O4643-D Docum'entS Filed,11/21/13 Page 49 of 75 Page|D 52

THE DECI$LDN 'T“o D'E.M\/ AN ADMIN:,§TQA-yg;\;f %§@V_EGAW rig MA-rg

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Offender Signature: wu (2>¢)»{|¢3¢\ Date: :\-\_JL,\/ 51 Q.Om..
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Grievance Response:

 

 

Boykin, Cur|ey #1774868
2012164804

Your Step 2 grievance has been reviewed by our office The investigation conducted into your claim of Sergeant
Jennings denying you recreation from |\/lay 25, 2012 to Ju|y 4, 2012 has been completed. The investigation revealed you
Were on recreation restriction You Were appropriately advised at Step 1. No action warranted.
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Private Faci|ity Contract |V|onitoring/Oversight Division

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§gnature Authority: MMM Date! it ‘q..» `q
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Comments:
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i:] 5. Malicious use of vulgar, indecent, or physically threatening language 2"" Submission ('(;0 h,iti.(.lg;

 

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CGO Staff Signature: Date Retumed to Offender

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1-128 Back (Revised 11-2010)

'Appendix G

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Living Quarters: § a S.» § Work Assignment:

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lNMATE REQUEST TO OFF|C|AL

REASON FOR REQUEST: (P|ease check one)

PLEASE AB|DE BY THE FOLLOW|NG CHANNELS OF COMMUN|CAT|ON. THlS WlLL SAVE TlME, GET YOUR RE-
QUEST TO THE PROPER FERSON, AND GET AN ANSWER TO YCU MORE QUlCKLY.

UnitAss/gnment, Transter (Chairman ot C/assification, Visit/‘ng List (Asst. Director of Classification, Administration
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Restoration of Lost overtime (Unit Warden-it approved it witt 6. iii Paroie requirements and related information (Unit Paroie
be forwarded to the State Disciplinary Committee) Counseior)

' Request for Promotion in Class or to Trusty Ctass (Unit . ij inmate Prison Record (Request for copy of record, informa-
Warden-it approved will be forwarded to the Director of tion on parole eligibility discharge date, detainers-Unit
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Ciemency-Pardon, paro|e, early out-mandatory supervision . Personal interview with a representative of an outside
(Board ot Pardons and Paroles, 8610 Stioai Creek Blvd. agency (Treatment Division, Administration Building)
Austin, Texas 78711

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lNMATE REQUEST TO OFF|C|AL

~'REASON FOR REQUEST: (P|ease check one)

PLEASE AB|DE BY THE FOLLOW|NG CHANNELS OF COMMUN|CAT|ON. THlS WlLL SAVE TIME, GET YOUR RE-
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Warden~if approved, will be forwarded to the Director of tion on parole eligibility, discharge date, detainers-Unit
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(Board of Pardons and Paroles, 8610 Shoal Creek Blvd. agency (Treatment Division, Administration Building)
Austin, Texas 78711

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Texas Department of rlCriminal Justice OFFICE USE QNLY

 

oFFENDER Gdcvance# /
STEP 1 GRIEVANCE FORM Date 1333 1 33 2312

. '°~ l . Date Duc: / 7 ZO/Z-/
Offender Name: C`iiLL`i:`i &\1 1333 TDCJ # M Grievance code-. `
t - » "§ . lnvcsti ator ID . l , '

Unit: WA__ Housing Assignrnent: L\ § 13 E tens:m Date_ §§ § § /

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y Unit where incident occurred: DA\HUA isle mlig Date Reid 30 OWC“£L;E_I-&ZW?

 

 

 

 

 

 

 

 

You must try to resolve your problem with a staff member before you submit a formal complaint. The only exception is when
appealing the results of a disciplinary hearing. ( .- ~,»-
Who did you talk to ( name title)? 81 CQEPVNT 1433 $:>Ei_i~ When?ML__‘i;C_ili;‘_

What was their response? &il./f) E\i '1~1’3\\3’ Wii'g> fixing 194 Mb Aubvif_;:> Q ~;i\'-»E 133 .CL 1`(`
What action was taken? THE C/D N§.(QE V/l: 11‘ @FFL({€~D' §§T_LLL th i;i`\:i§b QE_C,Q,EHTU

 

State your greivance in te eLK:ice provided. Please state who, what, wh n, wher and disc' plinary case nu ber if appropriate.

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I-127 Front (Revised 11-2010) YOUR SIGNATURE IS REQUIRED ON BACK OF THIS FORM (OVER)

Appendix F

 

 

 

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`Offender Signature: Qu*\\€/\'i\ ge i¢UN Date; Nb\i/ zQ¢ gail

 

 

Grievance Response:

A review of your classification records)indicated that you were
denied recreation due to disciplinary sanctions. Furthermore, your
status of §§ nas vaiiq. No action warranted.

R.. Winfi.eld,, ,As_si.s_tant. Warden,

   

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Signature Authority: Lv 7
lfyou are dissatisfied vvith the'Step l'r'ljpons`
` State the reason for appeal on the Step Form. a

Retumed becausev -~" v*Resubmit'this form\whenlecrreetions‘aro made eve “~ " v l ~ 7

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, I:| 2. Submission in excess of l every 7 days. * ME“I)"“'_M UGl Imtlals:

' Grievance #:
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ll"rii'ay sul$mit a Step 2`(1-1"2`8) to ille`Uhit Grievance lrivés"ii§

 

l:| l':' Grievablc'time?per'iod has expired.

Screening Criteria Used'
[___] 4. Inappropriatc/Excessivc attachments *

 

Date Recd from Offendcr:
E 5. No documented attempt at informal rcsolution. * Datc Retumed/to Offender ‘ ,
|:| 6. No requested relief is stated. * , w ' l ,
» _ , MM\ l 1 ¢UG.l lnlfl.als¢ _ ’~
l:] 7. .Malicious¢use of vulgar, indecent, or physically threatening language * Grievance #_
v |___l 8. The issue presented is not grievable. Screening Criteria»USed;~
|:| 9. Redundant, Rcfcr to grievance # Date Recd from Of`fende_r: W
|:| lO. Illegible/lncomprehensible. * Date Retumed to Offender
|:| ll' Inappr°priate‘ * y 3rdrSubmission UGl lntitials:
UGl Printed Name/Signature: ' Grievance #: " ‘ '

 

Application of the screening criteria for this grievance is not expected to adversely Screening Criteria Used' `_ s ,
Affect the offender’s health. ` ` ' ' ` ' ' Date Recd”frorniOlT`eflder:` “ " " ' " ’ `“

Date Retumed to Offender'

 

 

Medical Signature Authority:

 

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Case 3:13-cv-O4643-D Document3 Filed11/21/13 Page 56 of 75 Page|D 59 `

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Texas Department of Criminal Justice Griev vance #

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STEP 2 OFFENDER f ‘\NMMM j§lie$~hz@lz

GRIEVANCE FORM

 

 

   

 

 

 

 

 

 

 

. Date 11u e:
offender Name: CUQ/Ll;\) B'D`i\LIl\\ TDCJ # illng Grievancecodc: _, 1
Und D&WSUK Housing Assignment: l~i\ gf L'i' l“VeS'ig““’r w #: +»EM
Unit Where incident occurred: DA\M§M\(\ igng (:YAIL Extension Date: z 1 n , f :§
You must attach the completed Step l Glz`e\alzce that has been Signed by the Wardeh /01 yow .Step 2 appeal t() he

accepted You may not appeal to Step 2 w ith a Step / that has been returned unprocessed

 

Give reason for appeal (Be specii`lc). l am dissatisfzed with the response at Step / because...

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Appendix G

 

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*‘ Case 3:13-cv-O4643-D Document3 Filed11/21/13 Page 57 of 75 Page|DeGO . ’

 

 

 

 

 

 

 

I\ n ry 7 /
Offender Signature: (_),\L\)l_QU/]\`/ SéU/?i¢\/\ J:) Dafe! WC£MBEP ZD) QO\Q`
Grievance Response: \) V `

Boykin, Cur|y #1774868
2013040249
)
Your Step 2 grievance has been reviewed by our oft'lce. An investigation Was conducted into your allegation of being
denied recreation. The TDCJ Contract Monitor was contacted and on March 6, 2013 you confirmed you have been
receiving recreation dai|y. No action Warranted. '
Grady Wal|ace
Depl.lty Director of Operations
' Private Faci|ity Contract l\/|onitoring/Oversight Division

     

 

 

 

 

§gnature Authori /-\ Date: 3' (A 'CQO) 63
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CGO Staff Signature: " Date Retumed to Offender

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Appendix G

 

 

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‘ ` Case 3:13-cv-O4643-D Document 3 Filed 11/21/13 Page 71 of 75 Page|D 74

The University of ~Texas Medical Branch at Galveston
Sleep Laboratory Report

Combined Diagnostic and Therapeutic Sleep Study

Patient namer Boyl<in.Curley
UH# 400369N

Date of birth: 9/1/1964

Test #: 13513

Date of study: 3/14/2013 21 :42
Referring Physician: Valle,Jose

Test type: Split~night Polyso-mnography

Montage: This is a conventionalpolysomnograph:ic study performed during the patient’s habitual sleep
period in accordance with standards established by the A.merican Academy of Sleep Medicine.
Parameters include bilateral electrooculographic tracings; electroencephalographic tracings (modii`ied
lO:20 electrode configuration7 featuring bilateral frontal, central and occipital leads); surface
electromyography of submental musculature and bilateral anterior ti`bialis muscles; thoracic and
abdominal piezo-crystal respiratory belt recordings; electrocardiography; arterial oxygen hemoglobin
saturation via finger pulse oxi.r~netry; and snoring intensity via decibel meter recording

Patient identification and indica-tions:

This is a patient with a history of excessive daytime sleepiness and snon`-ng. The Epworth Sleepiness
score is 16[out of a possible 24 (mo-st sleepy)]. The diagnostic portion of the polysomnogram reveals
evidence of obstructive sleep apnea, with a respiratory disturbance index of 23.9 per hour and maximum
oxygen desaturat-io`ns down to 79.0%.

Sleep architecture and EEG: y

The total sleep time was 379.0 minutes The sleep efficiency was 77.7%. The sleep latency was 12.5
minutes The REM latency was 78.5 minutes Regarding sleep stage percentages the stage l sleep was
l l.9%; stage 2 sleep Was 7l .4%; slow wave (delta) sleep was 0.0%; and REM sleep was l6.8%.

Cortical arousal~s:

The total arousal index was 22.0 per hour,

The apnea hypopnea arousal index was 21 .l per hour. t
The snore arousal index was 0.0 .=per-hour.

The limb movement arousal index was 0.0 per hour.
The spontaneous arou'sal index was 0.9 per hour ' f

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Patient name: Boykin,Curley
UH# 400369N
Test #: 13613

Respiratory:

¢ Snoring was observed during the diagnostic portion of the study.

o The mean oxygen saturation throughout the study was 96%.

~ The lowest oxygen saturation throughout the study was 79%.

v A total of l.Z% of the total sleep time was spent with an oxygen saturation of less than 90%.

0 During the diagnostic portion of the study, the respiratory disturbance index (RDI) was 23.9
per hour, consisting of apneas (13), hypopneas(53) and RERA’s (O).Central apnea index was
O.7/hr during diagnostic phase of testing and 25 events/hr during titration.

CPAP titration:

CPAP was started after 213.1 minutes polysomnographic study, and was carried through a pressure range
of 4~8cm HZO. BPAP was then initiated on accou'h`t"of`continued central and obstructive events. Pressure
was titrated upto l9/l$cmh20. Titration grade was unacceptable

Limb m.ovements:
The periodic limb movement index was 0.0 per hour.

EKG:
There was sinus bradycardia observed during the recording
The average heart rate was 58 bears per minute.

Impressions:

Moderate Obstructive Sleep Apnea

Possible treatment emergent central sleep apnea
Unacceptable grade titration study

Recommenda-tions:

Recommend repeat titration study on account of continued events at final pressure settings and possible
treatment emergent central apneas.

The patient should be cautioned about the factors that may potentially exacerbate snoring and sleep
related breathing problems, such as ETOH and sedative-hypnotics.

The patient should also be advised against driving and operating dangerous equipment until the daytime
sleepiness is eliminated by appropriate treatment

Follow up with Dr. Valle to discuss results of testing outlined above

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Reviewed and interpreted by Dr. Shahzad Jokhio, MD - UTMB Sleep Disorder Center

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wmc 'Ihis was polysomnogmm with 125-channel montage, including full
EEG: CS/AZ, ("A/Al, Ol/AZ, OZ!A|: ZEOG: LOC/AZ, ROCIAI, one minnech EMG, one
anterior tibialis EMG (which includes both legs) md one ECG. Reoplmory inductivo t v
plethysmographywith quantitative sum simml'(RIPbelts) muudforwdomimi andthoraoic
breathing effort, and the air flow was moorde via ozonasal thermo~oouple system. Snoring
vibrations wm recorded with the vibration mm positioned in tire neck ma. SPO2 and pulse
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Period Time was 353.0. The Total Sleep hose was 209.0 minutes Patiem’s overall sleep
efficiency wm 58.3 peroem. Sleep onset only at 5.5 minutes consistent with sleep
deprivation ThepatientspentZ$$peroonto thetotal sleeptime lnStagel sloep, 49.8
percent in Stage II sleep, 0 percent ln slow sleep and 26.3 percent in REM slecp.
REM onsotwasmrlyat 11,5 minutes R.EM ism`buttonwasmeven.

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